        ·,   ~        Case 4:05-cr-00101-BRW Document 135 Filed 05/12/21 Page 1 of 2
AO 245D (Rev. 09/19)    Judgment in a Criminal Case for Revocations                                                         :FILED
                        Sheet I                                                                                     ·
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                                                                                                                      U.S. DISTRICT CO
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                                      UNITED STATES DISTRICT COURT
                                                          Eastern District of Arkansas                     JAIVfES
                                                                                           By:                    CK,CLERK
                 UNITED STATES OF AMERICA                             ~   JUDGMENT IN A CRIM:IN:A-::'L~C~A~S'.::E~~o=E-PC-=LE~R=._:K
                                 V.                                   ) (For Revocation of Probation or Supervised Reh;:ase)
                                                                      )
                        TIERRIE JONES                                 )
                                                                      ) Case No. 4:05CR00101-01 BRW
                                                                      ) USM No. 23677-009
                                                                      )
                                                                      ) Christophe A. Tarver
                                                                                                  Defendant's Attorney
THE DEFENDANT:
l!1'   admitted guilt to violation of condition(s)       -=S=p=ec=i=a-'-1_ _ _ _ _ _ _ of the term of supervision.
•      was found in violation of condition(s) count(s) _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number               Nature of Violation                                                             Violation Ended
Special (15)                    Failure to participate in mental health counsel under the guid-                05/18/2017
                                 ance and supervision of the U.S. Probation office.

Special                          Failure to participate and cooperate with a regimen of mental-                05/18/2017
                                 healthcare and psychiatric care as directed.

       The defendant is sentenced as provided in pages 2 through _ _2__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
•      The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 7675                                                   05/12/2021
                                                                                     <:..,,   Date of Imposition of Judgment
Defendant's Year of Birth:            1976

City and State of Defendant's Residence:                                  ~R;.~
                                                                                 BILLY ROY WILSON, U.S. DISTRICT JUDGE
                                                                                                  Name and Title of Judge



                                                                                                           Date
            i             Case 4:05-cr-00101-BRW Document 135 Filed 05/12/21 Page 2 of 2
AO 245D (Rev. 09/19)          Judgment in a Criminal Case for Revocations
                              Sheet 2- Imprisonment
                                                                                                     Judgment- Page   -=2-      of   2
DEFENDANT: TIERRIE JONES
CASE NUMBER: 4:05CR00101-01 BRW


                                                                    IMPRISONMENT
       The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
24 months, with credit for Time Served. No term of Supervised Release to follow.




     Iii"   The court makes the following recommendations to the Bureau of Prisons:

The Court recommends the defendant participate in any mental health treatment programs available to him.




     !if'       The defendant is remanded to the custody of the United States Marshal.

     •          The defendant shall surrender to the United States Marshal for this district:
                •    at   _________ •                        a.m.      •    p.m.    on
                •    as notified by the United States Marshal.

     •          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                •    be(ore 2 p.m. or:i
                •    as notified by the United States Marshal.
                •    as notified by the Probation or Pretrial Services Office.

                                                                            RETURN
I have executed this judgment as follows:




                Defendant delivered on                                                     to

at    _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                 UNITED STATES MARSHAL


                                                                                   By---------------------
                                                                                        DEPUTY UNITED STATES MARSHAL
